Case 1:21-cv-02228-RM-STV Document 43-4 Filed 12/07/21 USDC Colorado Page 1 of 5




                                                                                               2 Dec 2021

           My Name is TSgt Tyler J. Whitney. I was the Medical Group Executive Officer from 1
  December 2020 until 1 November 2021 in the United States Air Force (USAF) stationed at the 22 nd
  Medical Group (MDG), McConnell AFB, Kansas, and was responsible for all official communication to
  & from our medical clinic with the 22nd McConnell base tenants, the Air Force Medical Services, and the
  Defense Health Agency, as well as coordinating all COVID-19 vaccine meeting with all executive
  medical staff within the 22nd MDG. There is no Comirnaty COVID-19 vaccines available in the 22nd
  MDG Military Treatment Facility (MTF) and can confirm that the Comirnaty COVID-19 vaccine has
  never been available at our clinic, as of 19 November 2021, as the attached pictures show from the
  Defense Medical Logistics Standard Support (DMLSS), which is the system utilized for purchasing all
  medical supplies. The only COVID-19 vaccines that have been purchased/utilized within our MTF are
  the COVID-19 Emergency Use Authorization (EUA) vaccines (Pfizer/BioNTech and Moderna), as shown
  again in the DMLSS picture. The system allows a user to search items available within the MTF, as well
  as any items that have ever been inputted for purchase from any other base that utilizes the system.

          I can confirm that there are currently no licensed product with the name of “Comirnaty” that have
  ever been available at the 22nd MDG on McConnell AFB, nor has any product with the name
  “Comirnaty” ever been available for purchase within the entire DMLSS system, as of 19 November 2021.

           Additionally, our MTF received direction from the Acting Secretary of Defense (signed on 14
  September 2021) stating that, “DoD health care providers will use both the Pfizer-BioNTech COVID-19
  vaccine and the Comirnaty COVID-19 vaccine interchangeably for the purpose of vaccinating Service
  members in accordance with Secretary of Defense Memorandum, “Mandatory Coronavirus Disease 2019
  Vaccination of Department of Defense Service Members,” August 24, 2021” (see attachment). The 22nd
  MDG was then directed to utilize this Fact sheet (see attachment; revised on 22 September) to show any
  service members who questioned the legality of being required to receive the Pfizer BioNTech EUA
  COVID-19 vaccines, in lieu of the Comirnaty vaccine, which was never available. This Fact sheet was
  distributed to all base commanders, available at all COVID-19 vaccine events, and available upon request
  within the MTF for any Airmen who had reservations or question about being required to receive the
  Pfizer/BioNTech COVID-19 vaccine. I can confirm that this Fact sheet was utilized on numerous
  occasions to educate objecting service members that the USAF was authorized to utilize EUA
  Pfizer/BioNTech COVID-19 vaccines interchangeably with the Comirnaty COVID-19 vaccine, since the
  22nd MDG did not have any Comirnaty COVID-19 vaccines ever available.

  This is true to the best of my knowledge and belief.




                                                          TYLER J. WHITNEY, TSgt, USAF
                                                          22 OMRS

  Attachments:
  DMLSS EUA
  DMLSS
  SECDEF
  Fact Sheet
Case 1:21-cv-02228-RM-STV Document 43-4 Filed 12/07/21 USDC Colorado Page 2 of 5
Case 1:21-cv-02228-RM-STV Document 43-4 Filed 12/07/21 USDC Colorado Page 3 of 5
  Case 1:21-cv-02228-RM-STV Document 43-4 Filed 12/07/21 USDC Colorado Page 4 of 5


                                ASSISTANT SECRETARY OF DEFENSE
                                          1200 DEFENSE PENTAGON
                                         WASHINGTON, DC 20301-1200



HEALTH AFFAIRS

     MEMORANDUM FOR ASSISTANT SECRETARY OF THE ARMY (MANPOWER AND
                       RESERVE AFFAIRS
                     ASSISTANT SECRETARY OF THE NAVY (MANPOWER AND
                       RESERVE AFFAIRS
                     ASSISTANT SECRETARY OF THE AIR FORCE (MANPOWER
                       AND RESERVE AFFAIRS
                     DIRECTOR, DEFENSE HEALTH AGENCY

     SUBJECT: Mandatory Vaccination of Service Members using the Pfizer-BioNTech COVID-19
              and Comirnaty COVID-19 Vaccines

             On August 23, 2021, the U.S. Food and Drug Administration (FDA) approved the
     biologics license application for the Comirnaty vaccine, made by Pfizer-BioNTech, as a two-
     dose series for prevention of coronavirus disease 2019 (COVID-19) in persons aged 16 years or
     older. Previously, on December 11, 2020, the FDA issued an Emergency Use Authorization
     (EUA) for the Pfizer-BioNTech COVID-19 vaccine, which has the same formulation as the
     Comirnaty vaccine. Per FDA guidance, these two vaccines are “interchangeable” and DoD
     health care providers should “use doses distributed under the EUA to administer the vaccination
     series as if the doses were the licensed vaccine.” 1

            Consistent with FDA guidance, DoD health care providers will use both the Pfizer-
     BioNTech COVID-19 vaccine and the Comirnaty COVID-19 vaccine interchangeably for the
     purpose of vaccinating Service members in accordance with Secretary of Defense Memorandum,
     “Mandatory Coronavirus Disease 2019 Vaccination of Department of Defense Service
     Members,” August 24, 2021.

             My point of contact for this guidance is Colonel Michael J. Berecz, who may be reached
     at (703) 681-8463 or michael.j.berecz.mil@mail.mil.




                                                    Terry Adirim, M.D., M.P.H., M.B.A.
                                                    Acting
     cc:
     Surgeon General of the Army
     Surgeon General of the Navy
     Surgeon General of the Air Force
     Joint Staff Surgeon

     1
      FDA, “Q&A for Comirnaty (COVID-19 Vaccine mRNA),” https://www.fda.gov/vaccines-blood-biologics/qa-
     comirnaty-covid-19-vaccine-mrna, accessed September 10, 2021.
Case 1:21-cv-02228-RM-STV Document 43-4 Filed 12/07/21 USDC Colorado Page 5 of 5




      VACCINE INFORMATION FACT SHEET FOR RECIPIENTS AND CAREGIVERS
                 ABOUT COMIRNATY (COVID-19 VACCINE, mRNA)
       AND PFIZER-BIONTECH COVID-19 VACCINE TO PREVENT CORONAVIRUS
                          DISEASE 2019 (COVID-19)


You are being offered either COMIRNATY (COVID-19 Vaccine, mRNA) or the
Pfizer-BioNTech COVID-19 Vaccine to prevent Coronavirus Disease 2019
(COVID-19) caused by SARS-CoV-2.

This Vaccine Information Fact Sheet for Recipients and Caregivers comprises the
Fact Sheet for the authorized Pfizer-BioNTech COVID-19 Vaccine and also
includes information about the FDA-licensed vaccine, COMIRNATY (COVID-19
Vaccine, mRNA).

The FDA-approved COMIRNATY (COVID-19 Vaccine, mRNA) and the
FDA-authorized Pfizer-BioNTech COVID-19 Vaccine under Emergency Use
Authorization (EUA) have the same formulation and can be used interchangeably
to provide the COVID-19 vaccination series. [1]

      COMIRNATY (COVID-19 Vaccine, mRNA) is an FDA-approved COVID-19
      vaccine made by Pfizer for BioNTech. It is approved as a 2-dose series for
      prevention of COVID-19 in individuals 16 years of age and older. It is also
      authorized under EUA to provide:
            a two-dose primary series in individuals 12 through 15 years;
            a third primary series dose in individuals 12 years of age and older who
            have been determined to have certain kinds of immunocompromise;
            and
            a single booster dose in individuals:
                o    65 years of age and older
                o    18 through 64 years of age at high risk of severe COVID-19
                o    18 through 64 years of age whose frequent institutional or
                     occupational exposure to SARS-CoV-2 puts them at high risk of
                     serious complications of COVID-19 including severe COVID-19

      The Pfizer-BioNTech COVID-19 Vaccine has received EUA from FDA to
      provide:
            a two-dose primary series in individuals 12 years of age and older;
            a third primary series dose for individuals 12 years of age and older
            who have been determined to have certain kinds of
            immunocompromise; and
            a single booster dose in individuals:
                o 65 years of age and older

[1]The licensed vaccine has the same formulation as the EUA-authorized vaccine and the products can
be used interchangeably to provide the vaccination series without presenting any safety or effectiveness
concerns. The products are legally distinct with certain differences that do not impact safety or
effectiveness.

                                                1                           Revised: 22 September 2021
